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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

    In re:
                                                           Chapter 11
    WILLIAMS INDUSTRIAL SERVICES
    GROUP INC., et al.,1                                   Case No. 23-10961 (BLS)

                                                           (Jointly Administered)
             Debtors.
                                                           Hearing Date: August 17, 2023 at 10:00 a.m. (ET)
                                                           Objection Deadline: August 10, 2023 at 4:00 p.m. (ET)

     NOTICE OF MOTION AND HEARING REGARDING DEBTORS’ FIRST OMNIBUS
    MOTION FOR ENTRY OF AN ORDER AUTHORIZING THE DEBTORS TO REJECT
    CERTAIN EXECUTORY CONTRACTS EFFECTIVE AS OF THE REJECTION DATE

       PLEASE TAKE NOTICE that on July 24, 2023, the above-captioned debtors and debtors-in-
possession (the “Debtors”) filed the Debtors’ First Omnibus Motion for Entry of an Order
Authorizing the Debtors to Reject Certain Executory Contracts Effective as of the Rejection Date
[Docket No. 37] (the “Motion”) with the United States Bankruptcy Court for the District of
Delaware (the “Court”).

       PLEASE TAKE FURTHER NOTICE that responses, if any, to the Motion, must be filed on or
before August 10, 2023 at 4:00 p.m. (ET) (the “Objection Deadline”) with the Court, 824 North
Market Street, 3rd Floor, Wilmington, Delaware 19801.

       PLEASE TAKE FURTHER NOTICE that at the same time, you must serve a copy of the
response on (i) counsel for the Debtors, Thompson Hine LLP, 3900 Key Center, 127 Public
Square, Cleveland, OH 44114-1291 (Attn: Alan R. Lepene (alan.lepene@thompsonhine.com) and
Sean A. Gordon (sean.gordon@thompsonhine.com)), and Chipman Brown Cicero & Cole, LLP,
Hercules Plaza, 1313 N. Market Street, Suite 5400, Wilmington, DE 19801 (Attn: Mark L.
Desgrosseilliers (desgross@chipmanbrown.com)); (ii) counsel for the Stalking Horse Bidder,
Ropes & Gray LLP, 1211 Avenue of the Americas, New York, NY 10036 (Attn: Matthew M.
Roose, Esq. (matthew.roose@ropesgray.com) and Daniel G. Egan (daniel.egan@ropesgray.com)),
and Pachulski Stang Ziehl & Jones LLP, 919 North Market Street, 17th Floor, Wilmington, DE
19899 (Attn: Laura Davis Jones (ljones@pszjlaw.com)); (iii) counsel for any Additional Stalking
Horse Bidder; (iv) counsel for the Revolving Agents, Blank Rome LLP, 1201 Market Street, Suite
800 Wilmington, DE 19801 (Attn: Regina S. Kelbon (regina.kelbon@blankrome.com) and
Gregory F. Vizza (gregory.vizza@blankrome.com)); (v) counsel for the Term Agents, Chapman

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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
number, include: Williams Industrial Services Group Inc. (1378), Williams Industrial Services Group, LLC (2666),
Williams Industrial Services, LLC (0406), Williams Plant Services, LLC (9575), Williams Specialty Services, LLC
(9578), WISG Electrical, LLC (6918), Construction & Maintenance Professionals, LLC (0925), Williams Global
Services, Inc. (3708), Steam Enterprises, LLC (9177), GPEG LLC (5707), Global Power Professional Services, Inc.
(2550), WISG Canada Ltd. (B.N. 6518), WISG Nuclear Ltd. (B.N. 3510), and WISG Electrical Ltd. (B.N. 2116). The
location of the Debtors' corporate headquarters and service address is: 200 Ashford Center N, Suite 425, Atlanta, GA
30338.

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and Cutler LLP, 1270 Avenue of the Americas, New York, NY 10020 (Attn: David T.B. Audley
(audley@chapman.com) and Carey J. Gaughan (gaughan@chapman.com)); and (vi) the Office of
the United States Trustee for the District of Delaware, 844 King Street, Suite 2207, Lockbox 35,
Wilmington, DE 19801 (Attn: Joseph Cudia (joseph.cudia@usdoj.gov)), so as to be received on
or before the Objection Deadline.

      PLEASE TAKE FURTHER NOTICE that a hearing on the Motion will be held on August 17,
2023 at 10:00 a.m. (ET) before the Honorable Brendan L. Shannon, in the United States
Bankruptcy Court for the District of Delaware, 824 North Market Street, 6th Floor, Courtroom 1,
Wilmington, Delaware 19801.

     PLEASE TAKE FURTHER NOTICE THAT IF NO OBJECTIONS TO THE MOTION
ARE TIMELY FILED, SERVED AND RECEIVED IN ACCORDANCE WITH THIS NOTICE,
THE BANKRUPTCY COURT MAY GRANT THE RELIEF REQUESTED IN THE MOTION
WITHOUT FURTHER NOTICE OR HEARING.



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 Dated: July 25, 2023              CHIPMAN BROWN CICERO & COLE, LLP
 Wilmington, Delaware

                                    /s/ Mark L. Desgrosseilliers
                                   Mark L. Desgrosseilliers (No. 4083)
                                   Hercules Plaza
                                   1313 North Market Street, Suite 5400
                                   Wilmington, Delaware 19801
                                   Telephone: (302) 295-0192
                                   desgross@chipmanbrown.com

                                    -and-

                                    Sean A. Gordon (admitted pro hac vice)
                                    Austin B. Alexander (admitted pro hac vice)
                                    THOMPSON HINE LLP
                                    Two Alliance Center
                                    3560 Lenox Road NE, Suite 1600
                                    Atlanta, Georgia 30326-4266
                                    Telephone: (404) 541-2900
                                    Facsimile: (404) 541-2905
                                    Sean.Gordon@thompsonhine.com
                                    Austin.Alexander@thompsonhine.com

                                    Alan R. Lepene (admitted pro hac vice)
                                    Scott B. Lepene (admitted pro hac vice)
                                    THOMPSON HINE LLP
                                    3900 Key Center
                                    127 Public Square
                                    Cleveland, Ohio 44114-1291
                                    Telephone: (216) 566-5500
                                    Facsimile: (216) 566-5800
                                    Alan.Lepene@thompsonhine.com
                                    Scott.Lepene@thompsonhine.com

                                    Proposed Counsel for Debtors




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